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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 08-60027-CR-ZLOCH

   UNITED STATES OF AMERICA,

              Plaintiff,

   vs.
                                                       OMNIBUS ORDER
   FRANK HERNANDEZ, et al.

              Defendants.
                                         /

         THIS MATTER is before the Court upon the following Motions of

   Plaintiff United States Of America: Motion In Liminea To Prohibit

   Testimony Offered By Defendant Edwards During The Trial Of This

   Matter (DE 776), Supplement To Motion In Limine (DE 868), Motion In

   Liminea To Disqualify Expert From Testifying At Trial (DE 822),

   Request For Court To Take Judicial Notice (DE 978), which the Court

   construes as a Motion For Jury Instruction, and Motion In Limine To

   Prohibit Exclude Reliance On Advice Of Counsel Defense And Good

   Faith Defense (DE 1032), and Defendant Frank Hernandez’s Motion In

   Limine Regarding The Admissibility Of Statements Of Co-Defendants

   At A Joint Trial (DE 907), Defendant Edwards’s Motion In Limine To

   Exclude Steven B. Heymsfield, M.D. And Robert Parrado, R.Ph As

   Expert Witnesses For The Government (DE 944), Defendant Echols’s

   Motion In Limine (DE 1011), and Defendant Edwards’s Request For

   Judicial Notice Of States And Professional Standards Of Medical

   Practice Governing Internet Prescribing In The United States (DE

   1061).    The Court has carefully reviewed said Motions and the
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   entire court file and is otherwise fully advised in the premises.

          On January 14, 2009, the Court held a hearing on the above-

   referenced Motions and heard argument from counsel.                As an initial

   matter,      the    Government’s    Motion      To    Disqualify   Expert    From

   Testifying At Trial (DE 822) has been resolved by the Parties and

   is rendered moot.           At the hearing, counsel for the Government

   advised the Court that Dr. Zhoaping Li, M.D., Phd., could testify

   as long as all references to her employment with the United States

   Government are redacted from her credentials and no mention of the

   same is made to the jury.           Additionally, counsel indicated that

   they   are    near    resolution    of    the   issues    raised   in   Defendant

   Hernandez’s        Motion   In   Limine   Regarding      The   Admissibility   Of

   Statements Of Co-Defendants At A Joint Trial (DE 907) and will

   apprise the Court when it is resolved.

          Several Motions (DE Nos. 776, 868, 978 & 1061) hinge on what

   law the Court will apply to determine the standard for medical

   practice to be applied in this case.                 The Government argues that

   only the law of the states in which the doctors and pharmacists are

   licensed applies, while the Defendants argue that a nationwide

   standard applies.       Caselaw is clear that medical treatment must be

   rendered “in accordance with [the] standard of medical practice

   generally recognized in the United States.”                    United States v.

   Moore, 423 U.S. 122, 140 (1975); United States v. Merrill, 513 F.3d

   1293, 1306 (11th Cir. 2008); United States v. Williams, 445 F.3d


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   1302, 1309 (11th Cir. 2006), abrogated on other grounds. Thus, the

   applicable    standard    is   that   which   is   generally    recognized

   throughout the United States.

        To resolve the Government’s Request For Judicial Notice (DE

   978) and Defendant Edwards’s Request For Judicial Notice (DE 1061),

   the Parties shall enter into a stipulation that accurately reflects

   the laws of the 50 states regarding the issuance of prescriptions

   via the internet.        Accordingly, to the extent the Government’s

   Request For Court To Take Judicial Notice (DE 978) seeks jury

   instructions limited to the standard of medical practice for the

   six states in which Defendants practiced, the request is denied.

   Instead, Defendant Edwards’s Request For Judicial Notice (DE 1061)

   is granted. Regarding the Government’s Motions (DE Nos. 776 & 868)

   to exclude testimony by attorney Benjamin Gluck, the Court will

   grant said Motions because Mr. Gluck’s testimony will be redundant

   in light of the aforementioned stipulation, which will adequately

   instruct the jury on the applicable law.

        Defendant Edwards’s Motion In Limine To Exclude Steven B.

   Heymsfield, M.D. And Robert Parrado, R.Ph As Expert Witnesses For

   The Government (DE 944) is denied.        However, this Order shall not

   be construed to limit Defendants from objecting to the expert’s

   qualifications to testify or any other proper objection under the

   Federal Rules of Evidence. Additionally, Defendant Echols’s Motion

   In Limine (DE 1011) is denied, as the statement at issue is


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   admissible.

         The Court now turns to the issue of whether Defendants are

   entitled to an instruction of good faith reliance on advice of

   counsel.    Special Instruction 18 of the Eleventh Circuit Pattern

   Instructions states, in part: “Good faith is a complete defense to

   the charge in the indictment since good faith on the part of the

   Defendant is inconsistent with the existence of willfulness which

   is an essential part of the charge.”         Pattern Jury Instructions,

   Criminal Cases, Eleventh Circuit (2003) (emphasis added).                The

   necessary corollary is that when willfulness is not a part of the

   charge, good faith is not a complete defense.            Put another way,

   good faith can only be a complete defense in specific intent

   crimes, not general intent crimes.

         At issue in the Government’s Motion In Limine To Prohibit

   Exclude Reliance On Advice Of Counsel Defense And Good Faith

   Defense (DE 1032), is whether any or all of the crimes charged in

   the Indictment (DE 3) are specific intent crimes where willfulness

   is at issue.    Count 1 charges conspiracy to distribute and possess

   with intent to distribute controlled substances in violation of 21

   U.S.C. §§ 841(a)(1), (b)(1)(D), and (b)(2).           Counts 2 through 12

   charge distribution of controlled substances in violation of              21

   U.S.C. § 841(a)(1).      Conspiracy is a specific intent crime, and as

   such, the Government must show that the individual had knowledge of

   the   conspiracy   and    intended   to   join   or   associate   with   its


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   objective.    15A C.J.S. Conspiracy § 112 (2008); United States v.

   Puche, 350 F.3d 1137 (11th Cir. 2003); United States v. Charles,

   313 F.3d 1278 (11th Cir. 2002).       Thus, willfulness is at issue as

   to Count 1 of the Indictment, and the Court shall not preclude

   Defendants from requesting a special instruction on good faith

   reliance on advice of counsel.        However, the Court will evaluate

   the evidence adduced at trial and make a final determination as to

   the appropriate instruction, if any, at the charge conference.

        Counts 2 through 12 are not specific intent crimes.                See

   Merrill, 513 F.3d at 1306.      The Court will take up the applicable

   good faith instruction as to said Counts, if any, at the time of

   the charge conference.

        Accordingly, after due consideration, it is

        ORDERED AND ADJUDGED as follows:

        1. Motion In Limine (DE 776), Supplement To Motion In Limine

   (DE 868), Motion In Limine (DE 944), Request For Court To Take

   Judicial Notice (DE 978), which the Court construes as a Motion For

   Jury Instruction, and Motion In Limine (DE 1011) be and the same

   are hereby DENIED;

        2. Motion In Limine (DE 822) be and the same is hereby DENIED

   as moot;

        3. The Court RESERVES on Motion In Limine (DE 907);

        4. Motion In Limine (DE 1032) be and the same is hereby

   GRANTED in part and DENIED in part as follows:


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        a. To the extent the Motion (DE 1032) seeks to prohibit

        Defendants from receiving a jury instruction that good faith

        reliance on advice of counsel is a complete defense to Counts

        2 through 12, it be and the same is hereby GRANTED;

        b. In all other respects, it be and the same is hereby DENIED;

        5. Defendant Edwards’s Request For Judicial Notice (DE 1061),

   which the Court construes as a Motion For Jury Instructions, be and

   the same is hereby GRANTED, and the Parties shall agree on a

   stipulation setting forth the applicable law of the 50 states.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward

   County, Florida, this        15th          day of January, 2009.




                                       WILLIAM J. ZLOCH
                                       United States District Judge

   Copies furnished:

   All Counsel of Record




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